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                                    ORDERED.
Dated: July 18, 2023




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION
                                www.flmb.uscourts.gov


 In re:                                               Case No. 2:23-bk-00256-FMD
                                                      Chapter 11
 RV Doctor, Inc.,                                     Subchapter V

             Debtor.
 ___________________________/

                       ORDER DISMISSING CHAPTER 11 CASE

          THIS CASE came before this Court on July 12, 2023, at 10:30 a.m. to consider

 and rule upon the United States Trustee Motion to Convert Case to Chapter 7, or in the

 alternative, dismiss Chapter 11 Case (Doc. 92). For the reasons stated upon the record in

 open court, which constitutes this Court’s findings and conclusions, it is

          ORDERED:

          1.     The instant bankruptcy case is DISMISSED, the alternatively pleaded

 relief seeking conversion is denied as moot.

          2.     The Debtor is prohibited from filing a voluntary petition under chapter 11

 for one year from the date of the instant order.
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        3.     No debts, obligations, or liabilities are discharged. The automatic stay is

terminated. All unresolved motions, if any, are denied as moot. All court hearings or

scheduling conferences, if any, are cancelled.

        4.     The Debtor is ORDERED to pay any outstanding court fees, costs and

charges, assessed under chapter 123, title 28, United States Code, if any, and file any

outstanding operating reports, if any, in connection with this case within 14 days of the

entry of this Order.

        5.     Any party seeking a determination of the allowability of an administrative

expense claim, including the Subchapter V Trustee, must file appropriate application(s)

with this Court within 30 days of the entry of this Order.

        6.     This Court retains jurisdiction to adjudicate any timely filed applications.

Failure to file an application timely will result in this Court taking no action on

adjudicating whether to approve such administrative expense claim.

        7.       This Court retains and reserves jurisdiction to enforce the provisions of

this Order.

        8.     Upon expiration of the time to file applications or the final adjudication on

those applications has been made, whichever is later, the Clerk may proceed to close this

case.

        Clerk’s Office to serve a copy of this Order upon all parties.
